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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          ALISON JOHNSON,                                    CASE NO. C20-390 MJP

11                                  Plaintiff,                 ORDER ON STIPULATED
                                                               MOTION TO REVISE CASE
12                  v.                                         SCHEDULE

13          GORDON R SCOTT,

14                                  Defendant.

15

16          The Court, having received and reviewed the Stipulation For Order Continuing Trial Date

17   and Amending Case Schedule (Dkt. No. 11), makes the following findings:

18          The motion contains insufficient facts to establish good cause for a continuance of the

19   trial date and for a revision of the case schedule. The Parties do not explain why mediation,

20   which is not required by the Court, necessarily interjects delay in this matter. The Parties also fail

21   to adequately explain what specific discovery cannot be conducted and completed before the

22   December 4, 2020 cut-off.

23          Therefore, IT IS ORDERED that the request to revise the existing case schedule is

24   DENIED without prejudice to bring a renewed motion which cures the defects noted above.


     ORDER ON STIPULATED MOTION TO REVISE CASE SCHEDULE - 1
             Case 2:20-cv-00390-MJP Document 12 Filed 10/02/20 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated October 2, 2020.

 3                                                       A
                                                         Marsha J. Pechman
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                                                         United States District Judge
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     ORDER ON STIPULATED MOTION TO REVISE CASE SCHEDULE - 2
